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                                     EXHIBIT A

                                    Proposed Order




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                           )



In re:                                                     ) Chapter 11
                                                           )



W. R. GRACE & CO., et al. 1                                ) Case No. 01-01139 (KJC)
                                                           ) (Jointly Administered)
                                   Debtors.                )
                                                               Re: Docket No. F 1

       ORDER AUTHORIZING THE DEBTORS TO (A) ENTER INTO THE EXIT
     FINANCING COMMITMENT AND ENGAGEMENT LETTER AND THE FEE
     LETTERS; (B) PAY CERTAIN FEES, INDEMNITIES, COSTS AND EXPENSES
      IN CONNECTION THEREWITH; AND (C) FILE THE COMMITMENT AND
          ENGAGEMENT LETTER AND THE FEE LETTERS UNDER SEAL


         Upon the motion (the "Motion") of the Debtors 2 for entry of an order (this "Order")

under sections 105(a), 107(b), 363(b), 503(b), and 507(a)(1) of title 11 of the United States Code

(the "Bankruptcy Code"), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules"), and Rule 9018-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware (the "Local Bankruptcy

1        The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals,
Inc.), W. R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation,
Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
Creative Food >N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a
Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., 0 C Limited Partners I, Inc. (f/k/a Grace Cocoa
Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management
Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B
Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company,
Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc.,
Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.),
Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors,
Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land
Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management,
Inc. (17k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MRA Holdings Corp. (f/Ida Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (17k/a
Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc.
(f/Ida Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil,
Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

         Capitalized terms not defined herein shall have the same meaning ascribed in the Motion.


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Rules") (a) authorizing and approving the Debtors’ entry into, and performance under, the

Letters; (b) authorizing the use of estate funds to pay the fees and expenses set forth in the Fee

Letters, including the Break-up Fee, if applicable; (c) authorizing the Debtors’ indemnification of

the Engagement Parties and their affiliates in accordance with the terms and conditions set forth

in Annex A to the Commitment and Engagement Letter and in the Mandate Letter; (d)

authorizing the Debtors to file copies of the Letters under seal pursuant to section 107(b) of the

Bankruptcy Code; (e) directing that the Letters remain under seal and confidential and not be

made available to anyone other than the Limited Notice Parties without the written consent of the

Debtors and the Engagement Parties, respectively; and (f) granting such other and further relief

as the Court deems just and proper; it appearing that the relief requested is in the best interests of

the Debtors, their estates, their creditors and other parties in interest; the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334; consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); venue being proper before the Court pursuant to 28 U.S.C.

§§ 1408 and 1409; notice of the Motion having been adequate and appropriate under the

circumstances; and upon all the proceedings had before the Court; and the Court having found

and determined that the relief sought in the Motion is in the best interests of the Debtors, their

estates and creditors, and all parties in interest, and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, it is hereby ORDERED that:

         1.       The Motion is granted in its entirety.

         2.       Pursuant to sections 105 and 363(b) of the Bankruptcy Code, the Letters, and the

terms provided therein, are hereby approved.



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        3.       The Debtors are authorized to enter into, and perform under, the Letters and take

all actions necessary to implement the Letters, including any uses of estate assets required by any

or all of the Letters, and to negotiate, prepare and finalize the Loan Documents and any other

documentation evidencing or otherwise effectuating the Exit Facilities, and to enter into the Exit

Facilities in connection with consummation of the Plan.

        4.       The Debtors are authorized and directed, to accept, incur and perform all of their

obligations under the Letters, including, without limitation, incurring and paying all fees required

to be paid thereunder, reimbursing the Engagement Parties for their reasonable costs and

expenses, and indemnifying the Engagement Parties, all on the terms and conditions set forth in

the Letters as and when they are incurred and become due, and without any other or further order

of the Court.

         5.      All of the Debtors’ obligations under the Letters and all of the rights of the

Engagement Parties thereunder, including, without limitation, the Debtors’ obligation to pay to

the Engagement Parties, and the Engagement Parties’ right to receive, all amounts due and owing

to each of the Engagement Parties pursuant to (and to the extent provided in) the Letters

(including, without limitation, the fees and indemnities as set forth in the Letters and

reimbursement of all reasonable costs and expenses incurred in connection with the transactions

contemplated thereunder) are actual, necessary costs and expenses of preserving these estates

and shall be treated as allowed administrative expenses under sections 503(b)(1) and 507(a)(2) of

the Bankruptcy Code and may be paid without further order of the Court, whether or not the Exit

Facilities are entered into or funded, and none of such amounts shall be discharged, modified, or

otherwise affected by any chapter 11 plan of the Debtors.




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         6.       The automatic stay of section 362 of the Bankruptcy Code is hereby deemed

modified to the extent necessary to enable the Engagement Parties to perform under the Letters

and, in each case, to exercise any and all of their contractual rights thereunder, without seeking

further relief from the automatic stay, and neither the Debtors nor any other party in interest

may enforce the automatic stay against the Engagement Parties with respect to these rights.

         7.        The Debtors are authorized to file copies of the Letters under seal, and the Letters

shall remain under seal and confidential and shall not be made available to anyone other than the

Limited Notice Parties without the written consent of the Debtors and the Engagement Parties.

The Limited Notice Parties shall be bound by this Order and shall at all times keep the Letters

strictly confidential and shall not disclose their contents to any party whatsoever, except as may

otherwise be agreed in writing by the Debtors and the Engagement Parties. Service of the

Motion with all exhibits, without transmittal of the Letters, to all parties entitled to receive notice

of the Motion other than the Limited Notice Parties, is hereby deemed due and sufficient notice

under the Bankruptcy Code, the Bankruptcy Rules, and the Local Bankruptcy Rules.

         8.        Notwithstanding the applicability of Bankruptcy Rule 6004(h) or otherwise, the

terms and conditions of this Order shall be immediately effective and enforceable upon entry of

the Order.

         9.        The Debtors are authorized to take any and all actions necessary or appropriate to

effectuate the relief granted pursuant to this Order in accordance with the Motion and to

implement the Letters.

         10.       The terms and provisions of this Order shall be binding in all respects upon all

parties in these cases, the Debtors, their estates, and all successors and assigns thereof, including

any chapter 7 trustee or chapter 11 trustee appointed in any of these cases or after conversion of



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any of these cases to cases under chapter 7 of the Bankruptcy Code or any plan agent,

administrator or trustee no matter how denominated.

         11.      The provisions and effect of this Order, any actions taken pursuant to this

Order and the respective rights, obligations, remedies and protections provided for herein and

therein shall survive the conversion, dismissal or closing of the Chapter 11 Cases, appointment

of a trustee herein (or after conversion of any of these cases to cases under chapter 7 of the

Bankruptcy Code), or the substantive consolidation of these cases with any other case or cases,

and the terms and provisions of this Order shall continue in full force and effect notwithstanding

the entry of any such order.

         12.      Nothing contained in any chapter 11 plan proposed in any of these cases or any

order confirming any plan or in any other order in these cases or entered after any conversion of

these cases to cases under chapter 7 of the Bankruptcy Code shall alter, conflict with, or derogate

from, the provisions of this Order.

         13.      The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.

Date:                       ,2014
                                                                 Honorable Kevin J. Carey
                                                                 United States Bankruptcy Judge




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